                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


KBW INVESTMENT PROPERTIES,
LLC                                                 Case No. 2:20-cv-4852

                      Plaintiff,                    Judge James L. Graham
       v.
                                                    Magistrate Judge Kimberly A. Jolson
SECRETARY ALEX AZAR, et al.,

                      Defendants.

                                            ORDER

       This matter is before the Court for consideration of Plaintiff’s Motion for Temporary

Restraining Order and Preliminary Injunction. (ECF No. 3.) Pursuant to S.D. Ohio Civ. R. 65.1(a),

a preliminary telephone conference is set for Friday, September 25, 2020 at 2:00 PM. (ECF No.

6.)   During Friday’s conference, Government counsel should be prepared to discuss the

constitutional authority the CDC relied on in issuing its September 4, 2020 agency order entitled,

“Temporary Halt in Residential Evictions to Prevent the Further Spread of COVID-19.” 85 Fed.

Reg. 55292.

       IT IS SO ORDERED.



                                                            /s/ James L. Graham
                                                            JAMES L. GRAHAM
                                                            United States District Judge

DATE: September 21, 2020
